
16 N.Y.2d 929 (1965)
In the Matter of the Arbitration between Willow Fabrics, Inc., Respondent, and Carolina Freight Carriers Corp., Appellant.
Court of Appeals of the State of New York.
Argued September 20, 1965.
Decided October 21, 1965.
Herbert Burstein and Seymour Teitelbaum for appellant.
Gordon Marshall for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, BURKE, SCILEPPI and BERGAN. Judge VAN VOORHIS dissents and votes to reverse and to remand to the arbitrators upon the dissenting opinion at the Appellate Division.
Order affirmed, with costs; no opinion.
